FORM b23 (12/tO)



                                       UNITED STATES BANKRUFTCY                                                       COURT
                                              DISTRICT OF ARIZONA

In re:                                                                              Case No.:       2:   1
                                                                                                             0-bk-28564-GB               N

                                                                                                                                             FILELP
      JOHN W CRAWFORD                                                               Chapter:    7

      1725 WEST LAWRENCE                     LANE
      PHOENIX, A/ 85021                                                                                                                      JAN         2011
      SSAN: xxx-xx-0798
      EIN:
                                                                                                                                             UNITED STATES
                                                                                                                                          BANKRUPTCY   COURT
Debtor(s)                                                                                                                             FOR THE DISTRICT OF ARVZONA




       DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION
INSTRUCTIONAL COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT
Everv individual debtor in a chapter 7, chapter I I in which § 14 (d)(3) applies, or a chapter 13 case mustfile this
                                                                 1    1


certification. If a joint petition isfiled, each spouse must complete andfile a separate certification. Complete one oj'
theft4lowing statements andfile by the deadline.

Filing Deadlines:    In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under § 341
of (lie Bankruptcy Code. In a chapter I I or 13, file no later than the last payment made by the debtor as required by
the plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed. R. Bankr.
1".   1007(c).)

Instructions:        Use this form only to certify whether you completed a course in personal financial management.                                              (Fed.
R. Bank-r.    P.    1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit
counseling        provider and do NOT include with the petition when filing your case.

lCheck    the appropriate     boxes]
                                             Cuo)L
         I/We-IL.".                1"')
                                                                                                the debtor(s)               in the    above-styled   case hereby
                     (Printed Naine(s)      ofDebtor and Joint Debtor,     ifany)

certify that on         01t                                Uwe completed       an instructional              course    in    personal financial management
                    (Date)


P rovided     by   '4   (I                                                               an approved             personal financial management
                   (Naine qfplovider)


instruction provider. If the provider furnished a Certificate                       attesting   to the         completion            of the personal financial


                                                            is   attached. Certificate    No.
                                                                                                 11
                                                                                                                                          -Q/         D?b
management          instructional         course, a copy



                                   CERTIFICATION             OF COMPLETION               CONTINUES                    ON NEXT PAGE
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                                                                                                    the debtor(s)      in the    above-styled   case, hereby

                        (Printed Name(s)   of Debtor and Joint Debtor,   if anY)


certify   that,     no MMonal          financial management     course    is    required       because:

                                                                                    defined    in   I I   U.S.C.   §   109(h);
                          I   am/We are incapacitated      or disabled,        as

                  F.,
                          I   am/ We are on active military duty in a inilitw-y                combat zone.




                                                                                      t    9

                                 tor                                                       e




     Si-nature          of joint Debtor                                                Date




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                                                 Certificate     Number:       11557-AZ-DE-012609098

                                                 Bankruptcy       Case Number:           10-28564



                                                                     11557-AZ-DE-012609098




               CERTIFICATE                OF DEBTOR               EDUCATION



 I CERTIFY    that on October 8, 2010, at 3:24 o'clock PM MDT, John Crawford
 completed a course on personal financial management given by internet by
 AcadeMy of Financial Literacy, a provider approved pursuant to I 1 U.S.C. § 1 1 1
 to provide an instructional course concerning personal financial management in
 the District of Arizona.




 Date:   October   8, 20   1
                               0                 By:       /s/Phillip       Eugene Day



                                                 Name:     Phillip      Eugene Day


                                                  Title:       Owner




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